AO 39R (Re~~. 01 /0)) Nonce of a I_a~vsuit anJ Rrqucst w \~~aive Service of a Summons


                                        UNITED STATES DISTRICT COURT
                                                    to~~ ti,e
                                                              Middle District of Tennessee

                 Construction Enterprises,lnc.                                  ~
                               Plai,triff
Gemini Insurzmce Cump~ny, AlliedWJorltlNalional Assurance Company,              ~       Civi l /\etion No. 3:23cv00383
Evanston Insurance Company. Ohio Casuaity Insurance Company and    ~
Colony Instn'nnce Company pefendun!


                   NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

To:     Allied World National Assurance Company
        (name of die defei~danl or - if ~He defe~~dn~~[ rs a corporn~ion, parn~ership, or association - nn offrcer or ngenl arul~nri_ed to receive service)

           Why are you getting this?

       A lawsuit has been filed against you, or the entity you represent, in this court under the number shown aUove.
A copy of the complaint is attached.

        This is not a summons, or an official notice from the court. It is a request that, to avoid expenses, you waive formal
service of a summons by signing and retut•ning the enclosed waiver. To avoid these expenses, you must return the signed
waiver within 3p days (give nt least 30 days, or a~ least 60 days if [he defendmat is orr~side m~y.jt~rficin! disu•ic~ of the United S~a~es)
from the date shown below, which is the date this notice was sent. Two copies of the waiver form are enclosed, along with
a stamped, self-addressed envelope or other prepaid means for retu~•ning one copy. You may keep the other copy.

           What happens next?

          ifyou return the signed waiver, I will file it with the court. The action will then proceed as if you had been served
on the date the waiver is filed, but no summons will be served on you and you will have 60 days fi~om the date this notice
is sent (see the date below) to answer the com}~laint (or 90 days if this notice is sent to you outside any judicial district of
the United States).

       if you do not return the signed waive►• within the time indicated, I will a►•range to have the summons and complaint
sewed on you. And 1 will ask the cow-t to require you, or the entity you represent, to pay the expenses of mal<ing service.

           Please read the enclosed statement about the duty to avoid unnecessary expenses.

           I certify that this request is being sent to you on the date below.


Date:            04/28/23                                                                                    ~                         --- --1
                                                                                                      ~u[iire of the llorney or itni~cprese~tlec!party

                                                                                                              Heidi Hudson Raschke
                                                                                                                   Pri~tled ~aante
                                                                                                                  Carlton Fields, P.A.
                                                                                                      Corporate Center Three at International Plaza
                                                                                                          4221 W. Boy Scout Blvd., Suite 1000
                                                                                                                Tampa, FL 33607-5780
                                                                                                                      Address

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